: Gi Case 4:11-cr-00159-CVE Document 136 Filed in USDC ND/OK on 09/26/19 Page 1 of 2

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Mr. Clint Wesley Menzo Lawrence

Reg. No.: # 11801-062 - I T. BR D
Federal Correctional Complex .
United Sattes Penitentiary - Terre Haute SEP 2 6 2019
Post Office Box - 0033

Terre Haute, Indiana 47808 - 0033 feree

The Honorable Clerk of The Court

The Office of The Clerk of The Court

The Northern District of The Tenth District

Page Belcher Federal Building & U.S. Courthouse
333 West Fourth Street Room 111

Tulsa, Oklahoma 74103 - 3819

United States of America F [ L BR D
Ve Lawrence tS

USDC - 4:11-cr-159-002-CVE SEP 2 6 2019
Notice of Change of Address & Facility

ee 6. MeGartt, Clerk
24 September 2019 8. Bi

STRICT COURT

Honorable Clerk of the Court;
As you are reading this again, greetings and blessings.

I, also again, hope all with you and yours is truly well.

The purpose of this missive is as such:

That on or about; September 05, 2019; I, had [,]
forwarded to vour office a petition in the form
a Motion:
Request For Reduction of Sentence
Drug-Minus-two Act (2014) Amend. §782
And 18 U.S.C. § 3582(c)(2)

Since this filing, it has been brought to my
attention that I, shall be designated in the
next few days. Unfortunately, that time has
now come and I, was told to pack out for the
designation and transfer.

Presently and currently, I, do not know to where that
is to ba, but it is my understanding that if you were
to check: BOP.gov/Inmate Locator, it will provide to
you that of my Location and information.

Please forward all information to my designated and
soon to be established address.

I, thank you in advance for all of your aid, assistance,
help and support towards that of my endeavors.

Respectffully submitted
and requested;

24 September 2019 Mr. Clint Wesley Menzo Lawrence
Reg. No.: # 11801-062
Page 2 of 2

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MR. CLINT WESLEY MENZO LAWRENCE ce “
-REG. Nu. #°118Pf062 Unit E2-203 INDIANAPOLIS tm 460 7,

FEDERAL CORRECTIONAL COMPLEX

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Tulsa, OK 74103 ;
United States SEP 2 6 2019

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